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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION
    PHAP ANH LE,                                     §
                      Plaintiff                      §
                                                     §
      v.                                             §              Case No. 1:25-cv-00870-ADA-SH
                                                     §
    MIDLAND CREDIT                                   §
    MANAGEMENT, INC.,                                §
               Defendant

                                                 ORDER

     Now before the Court are Plaintiff Phap Anh Le’s Motion for Sanctions and Recovery of

Expenses (Dkt. 10) and Unopposed Motion for Leave to File Second Amended Complaint

(Dkt. 11), both filed July 2, 2025; Supplemental Filing in Support of Motion for Sanctions

(Dkt. 15) and Request for Clerk’s Entry of Default (Dkt. 16), both filed July 11, 2025; Defendant

Midland Credit Management, Inc.’s responses in opposition to Plaintiff’s motions (Dkts. 14, 17,

and 18); and Plaintiff’s reply (Dkt. 19).1

                                        I.    Motion to Amend

     The Court GRANTS Plaintiff’s Unopposed Motion for Leave to File Second Amended

Complaint (Dkt. 11) and ORDERS the Clerk to file his Second Amended Complaint (Dkt. 11-2)

on the docket of this case.

                       II.    Motions for Sanctions and Entry of Default

     For the reasons ably explained by Defendant, the Court DENIES as frivolous and harassing

Plaintiff’s Motion for Sanctions and Recovery of Expenses (Dkt. 10), Supplemental Filing in

Support of Motion for Sanctions (Dkt. 15), and Request for Clerk’s Entry of Default (Dkt. 16).



1
 The District Court referred this case to this Magistrate Judge pursuant to Rule 1 of Appendix C of the
Local Rules of the United States District Court for the Western District of Texas and the Magistrate Referral
Standing Order for United States District Alan D Albright. Dkt. 5.


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   One acting pro se “has no license to harass others, clog the judicial machinery with meritless

litigation, and abuse already overloaded court dockets.” Farguson v. MBank Houston, N.A., 808

F.2d 358, 359 (5th Cir. 1986). Like all other parties, pro se litigants have a responsibility to

cooperate in discovery and must “abide by the rules that govern the federal courts.” E.E.O.C. v.

Simbaki, Ltd., 767 F.3d 475, 485 (5th Cir. 2014) (citation omitted).

   The Court ADMONISHES Plaintiff to immediately cease filing duplicative, harassing, and

meritless motions. Otherwise, the Court may impose appropriate sanctions, including an award of

defense counsel’s fees and a pre-filing bar requiring Plaintiff to seek and receive permission from

the Court before filing any future motions. See, e.g., Baum v. Blue Moon Ventures, LLC, 513 F.3d

181, 190 (5th Cir. 2008) (“Federal courts have the power to enjoin plaintiffs from future filings

when those plaintiffs consistently abuse the court system and harass their opponents.”); Mayfield

v. Klevenhagen, 941 F.2d 346, 348 (5th Cir. 1991) (stating that pro se plaintiff’s “wasting of

increasingly scarce judicial resources must be brought to an end”).

   IT IS SO ORDERED.

   SIGNED on July 15, 2025.


                                                      SUSAN HIGHTOWER
                                                      UNITED STATES MAGISTRATE JUDGE




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